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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                    OXFORD DIVISION

AKECHETA MORNINGSTAR, PH.D.                                                            PLAINTIFF

V.                                                  CIVIL ACTION NO. 3:20-cv-277-NBB-JMV

DR. SAGAR PATEL;
AMR AMBULANCE SERVICE;
ST. DOMINIC-JACKSON MEMORIAL HOSPITAL;
AND AMERICAN MEDICAL RESPONSE                                                      DEFENDANTS

                ORDER ADOPTING REPORT AND RECOMMENDATION

       Presently before the court is the Report and Recommendation of the magistrate judge

entered on March 25, 2021, recommending the dismissal of this pro se action for failure to state

a non-frivolous claim over which this court has jurisdiction.

       After entry of the Report and Recommendation, the plaintiff timely filed his objection

thereto. His objection simply takes issue with the magistrate judge’s use of the term “frivolous

claim” and offers no legal basis or factual support for his position that the magistrate judge’s

Report and Recommendation is in error. To the contrary, the court agrees with the magistrate

judge’s Report and Recommendation and finds that it should be approved and adopted as the

opinion of the court.

       It is, therefore, ORDERED AND ADJUDGED that the Report and Recommendation

entered in this action on March 25, 2021, is hereby approved and adopted as the opinion of the

court, and this case is DISMISSED and closed.

       This 9th day of November, 2021.

                                                      /s/ Neal Biggers
                                                      NEAL B. BIGGERS, JR.
                                                      UNITED STATES DISTRICT JUDGE
